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                     IN THE COUNTY COURT OF THE TWENTIETH JUDICIAL CIRCUIT
                                            IN AND FOR LEE COUNTY, FLORIDA


        ANDY RODRIGUEZ,


                Plaintiff,
                                                                                        Case No.
        v.

                                                                                        JURY TRIAL DEMANDED
        COMMONWEALTH FINANCIAL SYSTEMS,
        INC.,
                                                                                        INJUNCTIVE RELIEF SOUGHT
                Defendant.




                                                              COMPLAINT


                Plaintiff Andy Rodriguez ("Plaintiff') sues Defendant Commonwealth Financial Systems,


        Inc. ("Defendant") for violations the Florida Consumer Collection Practices Act ("FCCPA") and


        the Fair Debt Collection Practices Act ("FDCPA")


                                                  JURISDICTION AND VENUE


                1.         This    Court      has    subject      matter jurisdiction          over     Plaintiff and        Defendant


        (collectively, the "Parties"), because the cause of action arises within the jurisdiction of this Court


        and, thus, venue and jurisdiction are proper.


                2.         This Court        has personal jurisdiction over Defendant because Defendant                              is


        operating, present, and/or doing business within this jurisdiction and because the complained of


        conduct of Defendant occurred within Lee County, Florida.


                3.         The amount in controversy is greater than $8,000, but does not exceed $15,000,


        exclusive of costs, interest, and attorneys' fees, and is otherwise within this Court's jurisdiction.


                4.         Venue of this action is proper in this Court because, pursuant to Fla. Stat. § 47.01 1,


        et seq., the cause of action alleged below arose in Lee County Florida.




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                                                          PARTIES


        5.         Plaintiff is a natural person, and a citizen of the State of Florida, residing in Lee


County, Florida.


        6.         Defendant is a Pennsylvania corporation, with its principal place of business


located in Dickson City, Pennsylvania.


                                           DEMAND FOR JURY TRIAL


        7.         Plaintiff, respectfully, demands a trial by jury on all counts and issues so triable.


                                            FACTUAL ALLEGATIONS


        8.         On a date better known by Defendant, Defendant began attempting to collect a debt


(the "Consumer Debt") from Plaintiff.


        9.         The Consumer Debt is an obligation allegedly had by Plaintiff to pay money arising


from a transaction between the creditor of the Consumer Debt, Coweta Emergency Group, LLC,


and Plaintiff involving the provision of medical services for Plaintiffs persona benefit (the


"Subject Service").


        10.        The Subject Service was primarily for personal, family, or household purposes.


        11.        Defendant is a business entity engaged in the business of soliciting consumer debts


for collection.


        12.        Defendant is a business entity engaged in the business of collecting consumer debts.


        13.        Defendant regularly collects or attempts to collect, directly or indirectly, debts


owed or due or asserted to be owed or due another.


        14.        Defendant is registered with the Florida Office of Financial Regulation as a


"Consumer Collection Agency."


        15.        Defendant's "Consumer Collection Agency" license number is CCA9904088.


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        16.         Defendant maintains all              the records specified in Rule 69V- 180.080,                      Florida


Administrative Code.


        17.         The records specified by Rule 69V- 1 80.080, Florida Administrative Code, of which


Defendant does maintain, are current to within one week of the current date.


        18.         Defendant is a "debt collector" within the meaning of 15 U.S.C. § 1692a(6).


        19.         Defendant is a "person" within the meaning of Fla. Stat. § 559.72.


       20.          On a date better known by Defendant, Defendant transmitted Plaintiffs personal


information to a third-party (the "Third-Party").


       21.          The personal information Defendant transmitted to the Third-Party included, but


was not limited to: [1] Plaintiff s name; [2] Plaintiff s address; [3] the existence of the Consumer


Debt; [4] the amount of the consumer debt; [5] the creditor of the Consumer Debt; [6] that Plaintiff


was the alleged debtor of the Consumer Debt; [7] information regarding the Subject Service; and


[8J that Plaintiff did not pay the Consumer Debt and/or defaulted on the Consumer Debt


(collectively, the "Transmitted Information").


       22.          The Third-Party, of whom Defendant transmitted Plaintiffs personal information


to, complied Plaintiffs personal information and prepared a letter that was to be sent to Plaintiff


in an attempt to collect the Consumer Debt.


       23.          The Transmitted Information affected Plaintiffs reputation. For example, the


transmission of such information affected Plaintiffs reputation regarding the repayment of debts,


Plaintiff s reputation of truthfulness, Plaintiff s reputation of solvency, and Plaintiff s reputation


regarding trustworthiness.


       24.          Defendant's transmission of Plaintiff s personal information to the Third-Party was


a communication in connection with the collect of the Consumer Debt.



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       25.          In addition to transmitting Plaintiffs personal information to the Third-Party,


Defendant also transmitted Plaintiff s personal information to other third-party entities in


connection with the collection of the Consumer Debt. Defendant transmitted such information to


these other third-party entities by, including hut not limited to: [1] utilizing "skip trace" services;


[2] utilizing bankruptcy, SCRA, probate, and other "scrubbing" services; and [3] utilizing


independent third-party contractors to attempt to collect the Consumer debt from Plaintiff.


       26.          On a date better known by Defendant, Defendant sent the letter prepared and/or


complied by the Third-Party to Plaintiff, of which was internally dated March 2, 2021, (the


"Collection Letter") in an attempt to collect the Consumer Debt.


       27.          Attached as Exhibit "A" is a copy of Collection Letter.


       28.          Defendant's transmission of Plaintiffs personal information to the Third-Party is


an explicit violation of § 1692c(b) of the FDCPA. See Hunstein v. Preferred Collection & Mgmt.


Servs.. No. 19-14434, 2021 U.S. App. LEXIS 1 1648 (1 1th Cir. Apr. 21, 2021) (a complete copy


of the Hunstein opinion is attached as Exhibit "B").


       29.          The Collection Letter contains a bar code and/or Quick Response ("QR") code, of


which are indicative of Defendant's use of the Third-Party to prepare, print, package, compile,


and/or otherwise send the Collection Letter.


        30.         For Defendant-DC to maintain a valid consumer collection agency license with the


Florida Department of State (so to otherwise lawfully collect, or attempt to collect, consumer debts


from Florida consumers ) Defendant knew it was required to tailor its (Defendant-DC's) debt


collector methods to be in compliance with both the FDCPA and FCCPA.


        31.         Defendant       knew      that    the   Transmitted        Information constituted             an     unlawful


transmission of Plaintiff s personal information in violation of § 1692c(b) of the FDCPA.


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       32.         The Third-Party did not have any legitimate need for the Transmitted Information,


as the Transmitted Information constituted an unlawful transmission of Plaintiffs personal


information in violation of § 1692c(b) of the FDCPA.


                                                           Count 1
                                     VIOLATION OF 15 U.S.C. 8 1692c(b)


       33.         Plaintiff incorporates by reference paragraphs 1-32 of this Complaint.


       34.         Pursuant to § 1692c(b) of the FDCPA, "a debt collector may not communicate, in


connection with the collection ofany debt, with any person other than the consumer, his attorney,


a consumer reporting agency if otherwise permitted by law, the creditor, the attorney of the


creditor, or the attorney of the debt collector." 15 U.S.C. 1692c(b) (emphasis added).


       35.         As set forth above, Defendant's transmission of Plaintiff s personal information to


the Third-Party violates § 1692c(b) of the FDCPA. See Hunstein, No. 19-14434, 2021 U.S. App.


LEXIS 1 1648 ("[w]e hold (1) that a violation of § 1692c(b) gives rise to a concrete injury in fact


under Article III and (2) that the debt collector's transmittal of the consumer's personal information


to its dunning vendor constituted a communication 'in connection with the collection of any debt'


within the meaning of § 1692c(b).") Accordingly, Defendant violated § 1692c(b) of the FDCPA


when it transmitted Plaintiffs personal information to the Third-Party.


       36.         WFIEREFORE, Plaintiff, respectfully, requests this Court to enter a judgment


against Defendant, awarding Plaintiff the following relief:


                   (a)       Statutory and actual damages as provided by 15 U.S.C. § 1692k;


                   (b)       Costs and reasonable attorneys' fees pursuant to 15 U.S.C. § 1692k; and


                   (c)       Any other relief that this Court deems appropriate under the circumstances.




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                                                           Count 2
                                  VIOLATION OF FLA. STAT. § 559.72(5)


       37.         Plaintiff incorporates by reference paragraphs 1-32 of this Complaint.


       38.         Pursuant to § 559.72(5) of the FCCPA, in collecting consumer debts, no person


shall: "/djisclose to a person other than the debtor or her or his family information affecting the


debtor 's reputation, whether or not for credit worthiness, with knowledge or reason to know that


the other person does not have a legitimate business need for the information or that the


information isfalse." Fla Stat. § 559.72(5) (emphasis added).


       39.         As    set    forth    above,     Defendant        unlawfully       transmitted       Plaintiffs       personal


information, by and through the Transmitted Information, to the Third-Party, whereby said


transmitted information affective Plaintiffs reputation because the Third-Party did not have any


legitimate need for unlawfully transmitted personal information of Plaintiff.


       40.         WFIEREFORE, Plaintiff, respectfully, requests this Court to enter a judgment


against Defendant, awarding Plaintiff the following relief:


                   (a)         Statutory and actual damages pursuant to Fla. Stat. §559.77(2);


                   (b)         An injunction prohibiting Defendant from engaging in further collection
                               activities directed at Plaintiff that are in violation of the FCCPA;


                   (c)         Costs and reasonable attorneys' fees pursuant to Fla. Stat. §559.77(2); and


                   (d)         Any other relief that this Court deems appropriate under the circumstances.


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      DATED: June 1,2021
                                                            Respectfully Submitted,


                                                              /s/ Jibrael S. Hindi
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                     EXHIBIT "A




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                                                                           [PUBLISH]


               IN THE UNITED STATES COURT OF APPEALS


                        FOR THE ELEVENTH CIRCUIT




                                  No. 19-14434



                   D.C. Docket No. 8:19-cv-00983-TPB-TGW




RICHARD HUNSTEIN,


                                                                  Plaintiff - Appellant,


                                     versus



PREFERRED COLLECTION AND MANAGEMENT SERVICES, INC.,


                                                              Defendant - Appellee.




                   Appeal from the United States District Court
                         for the Middle District of Florida



                                 (April 21, 2021)


Before JORDAN, NEWSOM, and TJOFLAT, Circuit Judges.

NEWSOM, Circuit Judge:


      This appeal presents an interesting question of first impression under the


Fair Debt Collection Practices Act—and, like so many other cases arising under




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federal statutes these days, requires us first to consider whether our plaintiff has


Article III standing.


       The short story: A debt collector electronically transmitted data concerning


a consumer's debt—including his name, his outstanding balance, the fact that his


debt resulted from his son's medical treatment, and his son's name-      to a third-


party vendor. The third-party vendor then used the data to create, print, and mail a


"dunning" letter to the consumer. The consumer filed suit alleging that, in sending


his personal information to the vendor, the debt collector had violated 15 U.S.C. §


 1692c(b), which, with certain exceptions, prohibits debt collectors from


communicating consumers' personal infonnation to third parties "in connection


with the collection of any debt." The district court rejected the consumer's reading


of § 1692c(b) and dismissed his suit. On appeal, we must consider, as a threshold


matter, whether a violation of § 1692c(b) gives rise to a concrete injury in fact


under Article III, and, on the merits, whether the debt collector's communication


with its dunning vendor was "in connection with the collection of any debt."


       We hold (1) that a violation of § 1692c(b) gives rise to a concrete injury in


fact under Article III and (2) that the debt collector's transmittal of the consumer's


personal information to its dunning vendor constituted a communication "in


connection with the collection of any debt" within the meaning of § 1692c(b).




                                           2




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Accordingly, wc reverse the judgment of the district court and remand for further


proceedings.


                                           I


      Congress enacted the FDCPA "to eliminate abusive debt collection practices


by debt collectors" and "to protect consumers against debt collection abuses." 1 5


U.S.C. § 1692(e). To that end, § 1692c(b) of the FDCPA, titled "Communication


with third parties," provides that—


      Except as provided in section 1 692b of this title, without the prior
      consent of the consumer given directly to the debt collector, or the
      express pennission of a court of competent jurisdiction, or as
      reasonably necessary to effectuate a postjudgment judicial remedy, a
      debt collector may not communicate, in connection with the collection
      of any debt, with any person other than the consumer, his attorney, a
      consumer reporting agency if otherwise permitted by law, the creditor,
      the attorney of the creditor, or the attorney of the debt collector.


 15 U.S.C. § 1692c(b). The provision that § 1 692c(b) cross-references—§ 1692b


governs the manner in which a debt collector may communicate "with any person


other than the consumer for the purpose of acquiring location information." 15


U.S.C. § 1692b. The FDCPA thus broadly prohibits a debt collector from


communicating with anyone other than the consumer "in connection with the


collection of any debt," subject to several carefully crafted exceptions—some


enumerated in § 1692c(b), and others in § 1692b.


      Richard Hunstcin incurred a debt to Johns Hopkins All Children's Hospital


arising out of his son's medical treatment. The hospital assigned the debt to

                                           3




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Preferred Collections & Management Services, Inc. for collection. Preferred in


turn hired Compumail, a California-based commercial mail vendor, to handle the


collection. Preferred electronically transmitted to Compumail certain information


about Hunstein, including, among other things: (1) his status as a debtor, (2) the


exact balance of his debt, (3) the entity to which he owed the debt, (4) that the debt


concerned his son's medical treatment, and (5) his son's name. Compumail used


that information to generate and send a dunning letter to Hunstein.


        Hunstein filed a complaint, alleging violations of both the FDCPA, see 15


U.S.C. §§1692c(b) and 1692f, and the Florida Consumer Collection Practices Act,


see Fla. Stat. § 559.72(5). As relevant here, the district court dismissed Hunstein's


action for failure to state a claim, concluding that he hadn't sufficiently alleged that


Preferred's transmittal to Compumail violated § 1692c(b) because it didn't qualify

                                                                                  "i
as a communication "in connection with the collection of a[ny] debt.




  The district court held for the same reason that Hunstein had not stated a claim for a violation
of § 1692f. The district court then declined to accept supplemental jurisdiction over Hunstein's
state law claim. Hunstein's appeal addresses only the portion of his complaint relating to
§ 1692c(b).


                                                  4




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       Hunstein appealed, and we requested supplemental briefing on the question


whether he had Article III standing to sue, which we now consider along with the


merits.2

                                                 II


       First things first. Because standing implicates our subject matter


jurisdiction, we must address it at the outset, before turning to the merits. Steel Co.


v. Citizensfor a Better Env't, 523 U.S. 83, 101-02 (1998). Article III of the


Constitution grants federal courts "judicial Power" to resolve "Cases" and


"Controversies." U.S. Const, art. Ill, §§ 1-2. This case-or-controversy


requirement, which has been construed to embody the doctrine of standing,


"confines the federal courts to a properly judicial role." Spokeo, Inc. v. Robins,


 136 S. Ct. 1540, 1547 (2016). The "irreducible constitutional minimum" of Article


III standing entails three elements: injury in fact, causation, and redressability.


Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-561 (1992).


       Hunstein's appeal involves the first element, injury in fact, which consists of


"an invasion of a legally protected interest" that is both "concrete and



2 Whether Hunstein has standing to sue is a threshold jurisdictional question that we review de
novo. Debernardis v. IQ Formulations, LLC, 942 F.3d 1076, 1083 (1 1th Cir. 2019). "We
review the decision to dismiss Plaintiff s complaint pursuant to Rule 12(b)(6) de novo, applying
the same standard as the district court." Holzman v. Malcolm S. Gerald & Assocs., Inc., 920
F.3d 1264, 1268 (1 1th Cir. 2019). Accepting the complaint's allegations as true and construing
the facts in the light most favorable to Hunstein, "the relevant inquiry is whether Plaintiff has
stated a 'plausible claim for relief under the FDCPA." Id. (quoting Ashcroft v. Iqhal, 556 U.S.
662, 679 (2009)).


                                                  5




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particularized" and "actual or imminent, not conjectural or hypothetical." Id. at


560 (quotation marks omitted). In Trichell v. Midland Credit Mgmt., Inc., 964


F.3d 990 (1 1th Cir. 2020), a ease involving the FDCPA, we reiterated that "[e]ach


subsidiary element of injury—a legally protected interest, concreteness,


particularization, and imminence—must be satisfied." Id. at 996-97 . The standing


question here implicates the concreteness sub-element.


      A plaintiff can meet the concreteness requirement in any of three ways.


First, he can allege a tangible harm—a category that is "the most obvious and


easiest to understand" and that includes, among other things, physical injury,


financial loss, and emotional distress. See Muransky v. Godiva Choco/atier, Inc.,


979 F.3d 917, 926 (1 1th Cir. 2020) (en banc); see also Huff v. TeleCheck Servs.,


Inc., 923 F.3d 458, 463 (6th Cir. 2019). Second, a plaintiff can allege a "risk of


real harm." Muransky, 979 F.3d at 927. Third, in the absence of a tangible injury


or a risk of real harm, a plaintiff can identify a statutory violation that gives rise to


an intangible-but-nonetheless-concrete injury. Spokeo, 136 S. Ct. at 1549. We


consider each possibility in turn.


                                            A


      Hunstein doesn't allege a tangible harm. The complaint contains no


allegations of physical injury, financial loss, or emotional distress. Instead, the


complaint (1) conclusorily asserts that "[i]f a debt collector 'conveys information



                                            6




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regarding the debt to a third party— informs the third party that the debt exists or


provides information about the details of the debt—then the debtor may well be


harmed by the spread of this information,"' and (2) vaguely references the "known,


negative effect that disclosing sensitive medical information to an unauthorized


third-party has on consumers[.]" In his supplemental brief, Hunstein asks us to


construe these assertions as allegations of emotional harm, arguing that he was


"humiliated, embarrassed, and suffered severe anxiety[.]" But we have "repeatedly


held that an issue not raised in the district court and raised for the first time in an


appeal will not be considered by this court." Access Now, Inc. v. Sw. Airlines Co.,


385 F.3d 1324, 1331 (1 1th Cir. 2004) (quotation marks omitted). Hunstein thus


cannot establish standing on the basis of a tangible harm.


                                            B


      Nor can Hunstein demonstrate standing by the second route—showing a


"risk of real harm." "[W]hile very nearly any level of direct injury is sufficient to


show a concrete harm, the risk-of-harm analysis entails a more demanding


standard     ourts are charged with considering the magnitude of the risk."


Muransky, 979 F.3d at 927 . "Factual allegations that establish a risk that is


substantial, significant, or poses a realistic danger will clear this bar[.]" Id. at 933.


Put slightly differently, to constitute injury in fact, the "threatened injury must be


certainly impending." Clapper v. Amnesty Int'I USA, 568 U.S. 398, 409 (2013).



                                            7




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Again, Hunstcin alleges only that a debtor "may well be harmed by the spread" of


the sort of information at issue here. That vague allegation falls short of a risk that


is "substantial, significant, or poses a realistic danger," Muransky, 979 F.3d at 933,


or is "certainly impending," Clapper, 568 U.S. at 409.


                                           C


      We thus consider whether Hunstein can show standing in the third manner—


through a statutory violation. "[T]he violation of a procedural right granted by


statute can be sufficient in some circumstances to constitute injury in fact," such


that "a plaintiff . . . need not allege any additional harm beyond the one Congress


has identified." Spokeo, 136 S. Ct. at 1549. Spokeo instructs that in determining


whether a statutory violation confers Article 111 standing, we should consider


"history and the judgment of Congress." Id.


                                           1


      Starting with history, we can discern a concrete injury where "intangible


harm has a close relationship to a harm that has traditionally been regarded as


providing a basis for a lawsuit in English or American courts." Id. Put differently,


we look to "whether the statutory violation at issue led to a type of harm that has


historically been recognized as actionable." Muransky, 979 F.3d at 926.


Muransky explains that the "fit between a new statute and a pedigreed common-




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law cause of action need not be perfect, but we are called to consider at a minimum


whether the harms match up between the two." Id.


       For more than a century, invasions of personal privacy have been regarded


as a valid basis for tort suits in American courts. See, e.g., Pavesich v. New


England Life Ins. Co., 122 Ga. 190, 50 S.E. 68 (1905); Munden v. Harris, 153 Mo.


App. 652, 134 S.W. 1076 (191 1); Kunz v. Allen, 102 Kan. 883, 172 P. 532 (1918).


By 1977, the Restatement (Second) noted that "the existence of a right of privacy


is now recognized in the great majority of the American jurisdictions that have


considered the question." Restatement (Second) of Torts § 652A cmt. a. (Am. Law


Inst. 1977).


       More particularly, the term "invasion of privacy" comprises an identifiable


family of common-law torts—including, most relevantly here, "public disclosure


of private facts." Invasion ofPrivacy, Black's Law Dictionary 952 (10th cd.


2014). It is hornbook law that "[o]ne who gives publicity to a matter concerning


the private life of another is subject to liability to the other for invasion of his


privacy, if the matter publicized is of a kind that (a) would be highly offensive to a


reasonable person, and (b) is not of legitimate concern to the public." Restatement


(Second) of Torts § 652D (1977); accord, e.g., 77 C.J.S. Right of Privacy and


Publicity § 32; 62A Am. Jur. 2d Privacy § 79. Indeed, the Supreme Court itself


has recognized "the individual interest in avoiding disclosure of personal matters"



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and has recognized that "both the common law and the literal understandings of


privacy encompass the individual's control of information concerning his or her


person." United States Dep 7 ofJustice v. Reporters Comm. for Freedom of the


Press, 489 U.S. 749, 763 (1 989) (citation and quotation marks omitted).


      Having established the historical pedigree of invasion-of-privacy torts—in


particular, the sub-species applicable to the public disclosure of private facts—we


next consider whether Preferred's alleged statutory violation is sufficiently


analogous. Notably, the FDCPA's statutory findings explicitly identify "invasions


of individual privacy" as one of the harms against which the statute is directed. 1 5


U.S.C. § 1692(a). And to that end, the statutory provision under which Hunstein


has sued here expressly prohibits a debt collector from "communicat[ing]" with


any but a few persons or entities "in connection with the collection of any debt."


Id. § 1692c(b). Although § 1692c(b) isn't identical in all respects to the invasion-


of-privacy tort, we have no difficulty concluding that it bears "a close relationship


to a harm that has traditionally been regarded as providing a basis for a lawsuit in


English or American courts." Spokeo, 136 S. Ct. at 1549.


      Perry v. Cable News Network, Inc., 854 F.3d 1336 (1 1th Cir. 2017), strongly


supports that conclusion. Perry concerned a plaintiffs allegations that CNN


divulged his news-viewing history to a third-party in violation of the Video


Privacy Protection Act. Emphasizing the widespread recognition both of the right



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to privacy in general and, more particularly, the privacy interest implicated by the


VPPA—the interest in preventing the disclosure of personal information—the


Court in Perry concluded that the statutory violation of the VPPA constituted a


cognizable Article III injury. Id. at 1341 (citing Reporters, 489 U.S. at 762-63).


Hunstein's allegations closely resemble those in Perry. The VPPA prohibits "[a]


video tape service provider [from] knowingly disclosing], to any person,


personally identifiable information concerning any consumer of such provider."


 18 U.S.C. § 2710(b). As relevant here, the FDCPA similarly prohibits a debt


collector from "communicat[ing], in connection with the collection of any debt,


with any person other than the consumer[.]" § 1692c(b). The two statutes thus


share a common structure—A may not share information about B with C. Because


we find Perry" s reasoning persuasive and analogous, we adopt it here.


       Our decision in Trichell does not require a contrary conclusion. That case


addressed a claim under a different FDCPA provision, § 1692e, which states that a


"debt collector may not use any false, deceptive, or misleading representation or


means in connection with the collection of any debt." 1 5 U.S.C. § 1 692e. The


plaintiffs in Trichell alleged that debt collectors had sent them misleading letters,


and in assessing their claims' pedigree, we determined that the "closest historical


comparison is to causes of action for fraudulent or negligent misrepresentation."


964 F.3d at 998. Canvassing the common-law history of those torts, we held that



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the plaintiffs' claims lacked the necessary "close relationship" to them. Id. at 997


98. That conclusion is entirely consistent with our holding here that Hunstcin has


standing to sue under a different FDCPA provision. Hunstein's claim, unlike the


 Trichell plaintiffs', arises under § 1692c(b) and bears a close relationship to a


common-law tort.


                                              2


       Although it presents a closer question, we conclude that "the judgment of


Congress" also favors Hunstein. Congress, of course, expresses its "judgment" in


only one way—through the text of duly enacted statutes. Even assuming that


 § 1692c(b) does not clearly enough express Congress's judgment that injuries of


the sort that Hunstein alleges are actionable, here Congress went further to


"explain itself." Huff, 923 F.3d at 466. In particular, as already noted, in a section


of the FDCPA titled "Congressional findings and declaration of purpose,"


Congress identified the "invasion[] of individual privacy" as one of the harms


against which the statute is directed.    1 5 U.S.C. § 1692(a). That, we think, is


sufficient.


       It's true that we pointed in Trichell to the FDCPA's language that a person


may recover "any actual damage sustained by such person as a result of' an


FDCPA violation and "such additional damages as the court may allow," 15


U.S.C. § 1692k(a), as evidence of Congress's judgment that violations of a



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different provision—§ 1692e—do not ipso facto constitute a concrete injury.


 Trichell, 964 F.3d at 1000. We don't read § 1692k(a), though, as categorically


limiting the class of FDCPA plaintiffs to those with actual damages—particularly


where, as here, the FDCPA's statutory findings expressly address the very harm


alleged—an "invasion[] of individual privacy." 15 U.S.C. § 1692(a).




       Because (1) § 1692c(b) bears a close relationship to a harm that American


courts have long recognized as cognizable and (2) Congress's judgment indicates


that violations of § 1692c(b) constitute a concrete injury, we conclude that Flunstein


has the requisite standing to sue.


                                          Ill


       Having determined that Hunstein has standing to sue under § 1 692c(b), we


now consider the merits of his case. Recall that § 1692c(b) states that, subject to


several exceptions, "a debt collector may not communicate, in connection with the


collection of any debt," with anyone other than the consumer.     15 U.S.C.


 § 1692c(b). The parties agree that Preferred is a "debt collector," that Hunstein is a


"consumer," and that the alleged debt at issue here was a "consumer debt," all


within the meaning of § 1692c(b). Helpfully, the parties also agree that Preferred's


transmittal of Hunstein's personal information to Compumail constitutes a




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"communication" within the meaning of the statute.3 Accordingly, the sole

question before us is whether Preferred's communication with Compumail was "in


connection with the collection of any debt," such that it violates §1692c(b).


Hunstein contends that the plain meaning of the phrase "in connection with the


collection of any debt" and relevant precedents show that it was and does.


Preferred, conversely, urges us to adopt a "factor-based analysis" that shows that, it


says, its communication with Compumail was not "in connection with the


collection of any debt."


       We begin with the plain meaning of the phrase "in connection with" and its


cognate word, "connection." Dictionaries have adopted broad definitions of both.


Webster's Third defines "connection" to mean "relationship or association."


Connection , Webster's Third International Dictionary at 481 (1961), and the


Oxford Dictionary of English defines the key phrase "in connection with" to mean


"with reference to [or] concerning," In Connection With , Oxford Dictionary of


English at 369 (201 0). Usage authorities further explain that the phrase "in




3 Section 1692a(2) defines communication as "the conveying of information regarding a debt
directly or indirectly to any person through any medium."   15 U.S.C. § 1692a(2).


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connection with" is "invariably a vague, loose connective." Bryan A. Garner,


Garner's Dictionary of Legal Usage 440 (3d ed. 201 1).


       Preferred's transmittal to Compumail included specific details regarding


Hunstein's debt: Hunstein's status as a debtor, the precise amount of his debt, the


entity to which the debt was owed, and the fact that the debt concerned his son's


medical treatment, among other things. It seems to us inescapable that Preferred's


communication to Compumail at least "concerned," was "with reference to," and


bore a "relationship [or] association" to its collection of Hunstein's debt. We thus


hold that Hunstein has alleged a communication "in connection with the collection


of any debt" as that phrase is commonly understood.


       Preferred resists that conclusion on three different grounds, which we


address in turn.


                                         A


       First, Preferred relies on our interpretation of another FDCPA provision,


 § 1692e, to argue that communications "in connection with the collection of any


debt" necessarily entail a demand for payment. In relevant part, § 1 692e states that


"[a] debt collector may not use any false, deceptive, or misleading representation


or means in connection with the collection of any debt."      15 U.S.C. § 1692e


(emphasis added). In the line of cases interpreting the meaning of "in connection


with the collection of any debt" in § 1 692e, we have focused on the language of the



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underlying communication. In Reese v. Ellis, Painter, Ratterree & Adams, LLP,


for instance, in concluding that a law firm's letter to a consumer was "in


connection with the collection of any debt" within the meaning of § 1692e, we


emphasized that the letter expressly stated that the firm was attempting to collect a


debt and was acting as a debt collector, demanded full and immediate payment,


and threatened to add attorneys' fees to the outstanding balance if the debtors


didn't pay. 678 F.3d 121 1, 1217 (1 1th Cir. 2012). Similarly, in Caceres v.


McCalla Raymer, LLC, we held that a collection letter constituted a


"communication in connection with the collection of a[ny] debt" under § 1692e for


similar reasons. Quoting the letter, we emphasized "that it is 'for the purpose of


collecting a debt;' it refers in two additional paragraphs to 'collection efforts;' it


states that collections efforts will continue and that additional attorneys' fees and


costs will accrue; it states the amount of the debt and indicates that it must be paid


in certified funds; and it gives the name of the creditor and supplies the law firm's


phone number in the paragraph where it talks about payments." 755 F.3d 1299,


 1301-03 (11th Cir. 2014).


      Relying on Caceres and Reese—both of which, again, addressed § 1 692e


the district court here adopted the following test:


      When determining whether a communication was made in connection
      with the collection of a[ny] debt, the courts look to the language of the
      communication itself to ascertain whether it contains a demand for
      payment and warns of additional fees or actions if payment is not

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      tendered.   Consequently, when determining whether the transmission
       of information to a third party constitutes a violation of the FDCPA, it
       is important to consider whether the communication makes an express
       or implied demand for payment.


      The district court's conclusion that the phrase "in connection with the


collection of any debt" necessarily entails a demand for payment defies the


language and structure of § 1692c(b) for two separate but related reasons—neither


of which applies to § 1692e. First, the demand-for-payment interpretation would


render superfluous the exceptions spelled out in §§ 1692c(b) and 1692b. Consider


as an initial matter the exceptions specified in § 1692c(b) itself: "[A] debt


collector may not communicate, in connection with the collection of any debt, with


any person other than the consumer, his attorney, a consumer reporting agency if


otherwise permitted by law, the creditor, the attorney of the creditor, or the


attorney ofthe debt collector[f 1 5 U.S.C. § 1692c(b) (emphasis added).


Communications with four of the six excepted parties—a consumer reporting


agency, the creditor, the attorney of the creditor, and the attorney of the debt


collector—would never include a demand for payment. The same is true of the


parties covered by § 1692b and, by textual cross-reference, excluded from


 § 1692c(b)'s coverage: "person[s] other than the consumer" with whom a debt


collector might communicate "for the purpose of acquiring location information




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about the consumer." Id. § 1 692b. A debt collector would presumably never make


a demand for payment of a party matching that description.


      The upshot is that the phrase "in connection with the collection of any debt"


in § 1692c(b) must mean something more than a mere demand for payment.


Otherwise, Congress's enumerated exceptions would be redundant. Under the


district court's demand-for-payment interpretation, Congress wouldn't have


needed to include exceptions for communications with consumer reporting


agencies, creditors, attorneys of creditors, attorneys of debt collectors, or persons


providing a debtor's location information; those communications would have been


foreclosed ipso facto by the phrase "in connection with the collection of any debt."


It is a "cardinal principle of statutory construction" that "a statute ought, upon the


whole, to be so construed that, if it can be prevented, no clause, sentence, or word


shall be superfluous[.]" Duncan v. Walker, 533 U.S. 167, 174 (2001) (quotation


marks omitted); accord, e.g., Antonin Scalia & Bryan A. Garner, Reading Law:


The Interpretation of Legal Texts 174 (2012) ("If possible, every word and every


provision is to be given effect .... None should be ignored. None should


needlessly be given an interpretation that causes it to duplicate another provision or


to have no consequence."). Because it is possible      and indeed, we think, more




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natural—to interpret § 1 692c(b) in a way that does not render most of its textually


specified exceptions redundant, we will do so.


       Second, and relatedly, the district court's interpretation renders yet another


portion of § 1692c(b) meaningless. By insisting on a demand for payment, the


district court essentially interpreted "in connection with the collection of any debt"


to mean "to collect any debt." Under this interpretation, the key phrase "in


connection with" has no independent meaning or force. But as just explained, we


have a duty to "give effect, if possible, to every clause and word of a statute[.]"


Duncan, 533 U.S. at 174.


       The district court seems to have been led astray by its reliance on decisions


interpreting § 1 692e, whose language and operation are different from


 § 1692c(b)'s in important respects. As a linguistic matter, § 1692e contains none


of the specific exceptions that § 1692c(b) does; accordingly, there was no risk in


Reese or Caceres that, by reading a "demand for payment" gloss into § 1692e, we


would render other portions of that statute redundant or meaningless. And as an


operational matter, § 1 692e   which prohibits "false, deceptive, or misleading


representation or means in connection with the collection of any debt"—covers the


sorts of claims that are brought by recipients of debt collectors' communications


i.e., debtors. See Caceres, 755 F.3d at 1300-1301 (case brought by recipient of


letter, the debtor); Reese, 678 F.3d at 1214 (same). As its title indicates, by



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contrast, § 1692c(b), targets debt collectors' "[communication with third parties,"


not debtors. In the typical § 1 692c(b) case, the debtor isn't the recipient of the


challenged communication. Linguistic differences aside, this practical operational


difference undermines any argument that the meaning of the phrase "in connection


with the collection of any debt" must necessarily be the same in § 1 692c(b) as in §


 1692e.


                                              B


          Preferred separately urges us to adopt the holistic, multi-factoring balancing


test that the Sixth Circuit decreed in its unpublished opinion in Goodson v. Bank of


Am., N.A., 600 Fed. Appx. 422 (6th Cir. 2015). That test counsels courts


confronting § 1692e's "in connection with the collection of any debt" language to


take into account the following seven considerations:


          (1) the nature of the relationship of the parties; (2) whether the
       communication expressly demanded payment or stated a balance due;
          (3) whether it was sent in response to an inquiry or request by the
          debtor; (4) whether the statements were part of a strategy to make
       payment more likely; (5) whether the communication was from a debt
       collector; (6) whether it stated that it was an attempt to collect a debt;
          and (7) whether it threatened consequences should the debtor fail to
       pay.



 Goodson, 600 F. App'x at 43 1 . We decline Preferred's invitation for two related


reasons.



          First, and perhaps most obviously, Goodson and the cases that have relied on


it concern § 1692e—not § 1692c(b). And as just explained, §§ 1692c(b) and

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 1692c differ both (1) linguistically, in that the former includes a series of


exceptions that an atextual reading risks rendering meaningless, while the latter


does not, and (2) operationally, in that they ordinarily involve different parties.


 Goodson' s seventh factor—whether the communication threatened consequences


should the debtor fail to pay—illustrates this point. It makes little sense for a debt


collector to threaten consequences should the debtor fail to pay in a


communication that is not sent to the debtor himself.


       Second, we believe that in the context of § 1 692c(b), the phrase "in


connection with the collection of any debt" has a discernible ordinary meaning that


obviates the need for resort to extratextual "factors." All too often, multifactor


tests—especially seven-factor tests like Goodson' s—obscure more than they


illuminate. Parties to FDCPA-governed transactions—debtors, creditors, debt


collectors, lawyers, etc.—are entitled to guidance about the scope of permissible


activity. They are likelier to get it even from a broadly framed statutory language


than from a judge-made gestalt.


                                           C


       Lastly, Preferred makes what we'll call an "industry practice" argument. It


contrasts what it says is the widespread use of mail vendors like Compumail and


the relative dearth of FDCPA suits against them. More particularly, Preferred


identifies cases involving mail vendors and emphasizes that none of them hold that



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a debt collector's mail vendor violated the FDCPA. True enough, but none of the


cases that Preferred cites involved § 1692c(b) claims, and the courts in those cases


certainly had no obligation to sua sponte determine whether the collectors'


communications to their vendors violated § 1 692c(b). That this is (or may be) the


first case in which a debtor has sued a debt collector for disclosing his personal


information to a mail vendor hardly proves that such disclosures are lawful.


       One final (and related) point: It's not lost on us that our interpretation of


 § 1692c(b) runs the risk of upsetting the status quo in the debt-collection industry.


We presume that, in the ordinary course of business, debt collectors share


information about consumers not only with dunning vendors like Compumail, but


also with other third-party entities. Our reading of § 1692c(b) may well require


debt collectors (at least in the short term) to in-source many of the services that


they had previously outsourced, potentially at great cost. We recognize, as well,


that those costs may not purchase much in the way of "real" consumer privacy, as


we doubt that the Compumails of the world routinely read, care about, or abuse the


information that debt collectors transmit to them. Even so, our obligation is to


interpret the law as written, whether or not we think the resulting consequences are


particularly sensible or desirable. Needless to say, if Congress thinks that we've




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misread § 1 692c(b)— or even that we've properly read it but that it should be


amended—it can say so.


                                          IV


       To sum up, Hunstein has Article III standing to bring his claim under


 § 1692c(b). Further, because Preferred's transmittal of Hunstein's personal debt-


related information to Compumail constituted a communication "in connection


with the collection of any debt" within the meaning of § 1692c(b)'s key phrase,


Hunstein adequately stated a claim.


       REVERSED and REMANDED.




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